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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )
                                     )                 4:05CR3029
           v.                        )
                                     )
JEFFREY D. MATTSON,                  )
                                     )          MEMORANDUM AND ORDER
                 Defendant.          )
                                     )



     The defendant has moved for an early release from probation.
Defendant points out that he has completed his community service
requirements and paid his fine, and that he has not violated the
terms of his probation.      Defendant also points out that he has
spent much time and money in assisting Casey Foster in the
efforts that culminated in September with Foster and the Foster
Cattle Company receiving the Nebraska Outstanding Grassland
Conservation Award from the Nebraska Association of Resources
Districts.


     The government has opposed the request, arguing that the
three-year probation should be allowed to continue.               The
government emphasizes that the three-year hunting prohibition
which was a condition of probation should remain in place as a
demonstration to defendant and others of the seriousness with
which the government and the court viewed the violations in this
case.


     I agree that the violation for which the defendant was
sentenced was serious, and I think the hunting prohibition should
extend through the current season.         On the other hand, in
recognition of the service the defendant has provided in
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enhancing wildlife habitat, I shall terminate the probation six
months early.


     IT THEREFORE HEREBY IS ORDERED,

     The defendant’s request for early termination of probation
is granted in part, and the defendant’s term of probation shall
terminate on February 15, 2008.


     DATED this 7th day of November, 2007.


                                   BY THE COURT:


                                   s/     David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge




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